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                   IN THE UNITED STATES DISTRICT COURT FILE
                  FOR THE SOUTHERN DISTRICT OF GEORGI A U.S . Mc-l { I                     RT
                            WAYCROSS DIVISION

                                                                      711,911 AR -2 A li : 2 1


UNITED STATES OF AMERICA
                                                      CASE NO . CR505-02 1
             V.

JAMES "JABBER" LEE
TODD SWEAT


                                      ORDE R


      At the Motions hearing held on March 7, 2006, counsel for Defendant Todd Sweat

announced that he desired to withdraw his Motion for Severance . Accordingly, the Motion

for Severance filed by Defendant weat is DISMISSED.

      SO ORDERED , this      2 day of February, 2007 .
